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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
(Title of Action)
Da. Reverseytoisis yg eve | \ORFt- -MCA ~
Plaintiff, : Civil Action No. <¥¢ COY
Vv. O p : NOTICE OF MOTION
Tithe marl 72 GRO
/ He . Powe Defendant. :
f a . c
PLEASE TAKE NoTICE LS, eveeury M LY ARR/S
(Name of Moving Party)
will move before the Honorable , U.S.D.J. on

 

 

(Motion days are the 1“ and 3 Monday of each month)

for an Order To. cbt arn) key fo EQUleOmen 7 Kom Jaf He fe AmermenT

(describe type of relief being sought)

In support of my motion, I will rely on the attached brief (if necessary).

x Decud Mok Lewis

Name

Ve, Gren WAY Py YD)
Oe ANT C7203

 

 

 

Date: G IL) 1S

 

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GREAT RI
2-3" x 21"

BEDRM
12-6" x 13"

         

 

 

 

 

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Elevations and floor plans are an artist's rendering and are shown for illustration purposes only. Ail square feet are approximate.

 
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THE UNITED STATES DISTRICT COURT OF NEW JERSEY June 11, 2018

 

Dr. Beverley M. Harris

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Ace MUM BER, LES”
Plaintiff CAS (OQ FARM A-SH
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V. JURY TRIAL

Mr. Thomas S. Bozzuto, Founder of the Bozzuto Group _+) Pauperis Filing
Mr. Toby Bozzuto, Operatng Officer, Bozzuto Group )
Partners of the Bozzuto Group )
Mr. David Curcio, Regional Manager, The Park Apartments)
Ms. Michelle Demetriou, Manager The Park Apartments _)

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Roselle New Jersey

Defendants

 

MOTION BRIEF
Plaintiff, Dr. Beverley M. Harris, representing herself, per se, kindly motions the Court for the

following relief:
On 5 June 2018 Plaintiff, file suit against the Bozzuto Group, and other Defendants, cause of
action:

|. New Jersey law, negligence, based on various tenant rights violation

2. Violation of 28 U.S.C. § 2511 & Invasion of Privacy, based on Plaintiff discovered that
Defendants illegally installed camera(s) in the air condition vent in Plaintiff's apartment.
Plaintiff discovered the camera(s) when she heard unusual sounds in the apartment.
Plaintiff is now hearing similar sounds coming from a locked equipment room and
believes that there might be more recording/camera devices in the equipment room.
Furthermore, Defendants have been making every effort, through bullying, intimidation,
and threats of eviction in order to access my apartment, without cause.

3. Therefore, Plaintiff is kindly motioning the Court for an Order to obtain the key to the
equipment room in Plaintiff's apartment in order to check for recording and/or other
illegally installed devices in the apartment.

4. Plaintiff will allow Defendants to observe, from the hallway outside the Plaintiff's door

which has clear view of the equipment room door. Plaintiff will not enter the equipment

DR. BEVERLEY HARRIS

 
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room or touch and/or damage any item in that area. Plaintiff will only be looking into the

room for any unusual items that make looking like recording items.

DATED: 11 June 2018

DR. BEVERLEY HARRIS

Respectfully,

   
     

Dr. Beverley M. Harris
610 Greenway Blvd
Roselle, NJ 07203
Phone: (973) 876-0933

  

 

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